978 F.2d 1255
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Hugh Bernard HAMILL, Plaintiff-Appellant,v.DEPARTMENT OF CORRECTIONS, State of Virginia;  CharlesSwecker;  J. D. Terry, Defendants-Appellees.
    No. 92-6756.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 28, 1992Decided:  October 27, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-92-279)
      Hugh Bernard Hamill, Appellant Pro Se.
      Karen Lynn Lebo, Office of the Attorney General of Virginia, Richmond, Virginia;  Frances Merrimon Burwell, Wooten &amp; Hart, P.C., Roanoke, Virginia, for Appellees.
      W.D.Va.
      Affirmed.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Hugh Bernard Hamill appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Hamill v. Department of Corrections, No. CA-92-279 (W.D. Va.  July 16, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    